Case 2:05-cr-20223-.]PI\/| Document 26 Filed 06/22/05 Page 1 of 2 Page|D 19

 

TN THE UNITED STATES DISTRICT COURT `\:'l*»-l"~*:"` -:='i
FOR THE WESTERN DIS'I`RICT OF TENNESSEE

 

 

WESTERN DIVIsIoN 05 JUlt 22 ?I"l 3= 33
di tnii`l.s.`t"hz§r:""rj't.’
UNITED sTATES 0F AMERICA t ~\ttr:». ctr rw, r~tez\.ti=l~i!§
V.
KYLE HENSON 05Cr20223-M1
a / k / a Anthony Owens
0R1)ER oN ARRAIGNMENT

/'\

This cause came to be heard on Q¢Ml 214 w the United States Attorney

for this district appeared on behalf of theé{)vernment, and the defendant appeared in person and with
counsel :

NAMEZ' %M $¢r _Z MM who is Retained/Appointed.
§ “""_"'

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good eause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

_MI'h/e defendant, (not havin e bond) (bein a st ' risoner) (bein a federal
3 g P g
prisoner) (being held without bo d pursuant to BRA of 84), is remanded to the custody

of the U.S. Marshal.
l w {/\ Ce,___d

UI\`t'irED sTATEs MKGISTRATE JUDGE

 

CHARGES -21:846
CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE

Attorney assigned to Case: D. Henry

,` t\
,,§`tt\'-'
. 7 1 l."\"‘(“e'
Ase. 3 » '~‘°CMM

   

UNITED sTATE DISTRIC COUR - W'"RNTE D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20223 Was distributed by faX, rnaiI, or direct printing on
June 23, 2005 to the parties listed.

 

 

Stephen R. Leftler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

